Case 5:21-cv-00077-RWS Document 210 Filed 10/09/23 Page 1 of 2 PageID #: 6173




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION

 CATHX RESEARCH LTD.,

           Plaintiff,
                                                        Civil Action No.: 5:21-cv-00077-RWS
 v.

 2G ROBOTICS INC., a/k/a VOYIS
 IMAGING, INC.,

           Defendant.

                  NOTICE OF SERVICE OF CATHX RESEARCH LTD.’S
               SUPPLEMENTAL EXPERT WITNESS REPORT RE: DAMAGES

          Pursuant to Fed. R. Civ. P. 26(a)(2)(E) and 26(e) as well as L.R. CV-26(c), the undersigned

hereby certifies that a true and correct copy of the Second Supplemental Expert Witness Disclosure

and Report of JUSTIN R. BLOK, by and through counsel, was served on Defendant 2G Robotics

Inc. a/k/a Voyis Imaging, Inc. (“Voyis”) on September 26, 2023 via email on behalf of Plaintiff

Cathx Research Ltd. (“Cathx”). The Second Supplemental Expert Witness Disclosure and Report

was necessitated by additional information made available to Mr. Blok and made relevant by

information relied upon by Voyis’ rebuttal expert, including Sonardyne’s financials that were not

produced in this litigation.

          Cathx reserves the right to call Mr. Blok at trial to provide expert testimony in the instant

matter.

Dated: October 9, 2023                                    Respectfully submitted,

                                                          /s/ Edward L. Bishop
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Case 5:21-cv-00077-RWS Document 210 Filed 10/09/23 Page 2 of 2 PageID #: 6174




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                                                  Counsel for Plaintiff Cathx Research Ltd.




                               CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a true and correct copy of the foregoing
document on October 9, 2023. Any other counsel of record will be served by electronic and/or
first-class mail.

                                                  /s/ Edward L. Bishop
                                                  Edward L. Bishop




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